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                                                                                                                                       utchinson       Foberts      Hemphill




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               County processing EICs 26 Counties 9 MOUs Received
                                                                                                                                                                                                                                                       2:13-cv-193




                                                                                                                                                                                                                                                                      exhibitsticker.com
               DL Employees scheduled to                provide          coverage          40Counties                                                                                                                                                  09/02/2014

               County employees           to   be trained    to     process EICs             12 Counties                                                                                                                                               DEF1443
               Kimble County         Junction     Scheduled            Office             Open       for service




Current   as of 171000   October   2013


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